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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND
                                NORTHERN DIVISION

UNITED STATES OF AMERICA                      *

v.                                            *           Crim. No. SAG-23-0312
LAWRENCE SMITH
                                              *

                                      *       *       *

  ORDER CANCELING SCHEDULED COURT DATES AND SETTING A DEADLINE
           FOR A JOINT STATUS REPORT FROM THE PARTIES

       Upon consideration of the Defendant, Lawrence Smith’s Motion to Cancel the scheduled

                                                                        4th day of
Pretrial Conference and Trial Dates, and any response filed, it is this _____

April
______________ , 2025, by the United States District Court for the District of Maryland,


       ORDERED, that the motion is GRANTED; and it is

       FURTHER ORDERED, that the prior Order setting a revised schedule and jury trial

issued on October 7, 2024 (ECF No. 26) is hereby rescinded. The parties are directed to file a

joint status report with the Court by June 2, 2025.


                                      _____________________________________________
                                      THE HONORABLE STEPHANIE A. GALLAGHER
                                      UNITED STATES DISTRICT JUDGE
